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                                    EXHIBIT B
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    [translation]
    2014 (rehabilitation) no. 12 Application for commencement of civil rehabilitation


                                          DECISION


                               Shibuya 2-11-5, Shibuya-ku, Tokyo
                               Rehabilitation debtor MtGox Co., Ltd.
                               Representative Director Robert Marie Mark Karpeles




                                         JUDGMENT


    1.      We order the supervision of MtGox Co., Ltd. to be conducted by a supervisor.
    2.      We hereby appoint as supervisor:
            Attorney-at-law Nobuaki Kobayashi
            Nagashima Ohno & Tsunematsu
            Kioicho Building, Kioicho 3-12, Chiyoda-ku, Tokyo
    3.      The supervisor shall be authorize to grant permission in lieu of the Court to the
            effect that the other party's claim arising from an act stipulated in Article
            120.1 of the Civil Rehabilitation Law shall be a common benefit claim.
    4.      The rehabilitation debtor shall require the consent of the supervisor with
            regard to any of the acts listed below:
            (1)      transfer of right, establishment of a security interest, lease or any
                     other disposition with regard to properties held or owned by the
                     rehabilitation debtor (except for transactions in the ordinary course of
                     business)
            (2)      transfer, establishment of security interests or any other disposition
                     with regard to a claim of the rehabilitation debtor (except with regard
                     to collection done by the rehabilitation debtor)
            (3)      transfer of property (except for the purchase of products and other
                     transactions done in the ordinary course of business)
            (4)      lending
            (5)      borrowing of money (including discounting of bills) and guarantees
            (6)      discharge of debts, renunciation to rights or to assumptions of debts
                     without consideration
            (7)      redemption of the collateral for a right of separate satisfaction
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          (8)      execution of agreements which may assist in the maintenance or
                   rehabilitation    of   the   rehabilitation   debtor's   business   and   of
                   agreements related to the selection of parties which may provide said
                   assistance.
    5.    From February 28, 2014 onward, the rehabilitation debtor shall submit to the
          Court and to the supervisor no later than on the 10th of the following month a
          written report on the situation of the business and the administration of the
          property of the rehabilitation debtor as of the end of each month.




                            February 28, 2014
                                      Tokyo District Court 20th Civil Chamber
                                      Head Judge         Yasushi Kanokogi
                                      Judge              Hideki Kanazawa
                                      Judge              Masaki Higuchi


          This is an original.
          Same date, same court
                   Court clerk        Kazui Sakuraba [seal]
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                                    EXHIBIT C
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    [translation]
    2014 (rehabilitation) no. 12 Application for commencement of civil rehabilitation


                                           DECISION


                              Shibuya 2-11-5, Shibuya-ku, Tokyo
                              Rehabilitation debtor MtGox Co., Ltd.
                              Representative Director Robert Marie Mark Karpeles




                                          JUDGMENT


    1.      We order an investigation of MtGox Co., Ltd. to be conducted by an examiner.
    2.      We hereby appoint as examiner:
            Attorney-at-law Nobuaki Kobayashi
            Nagashima Ohno & Tsunematsu
            Kioicho Building, Kioicho 3-12, Chiyoda-ku, Tokyo
    3.      The examiner shall investigate the following matters and report in writing its
            findings no later than on March 28, 2014:
            (1)      Existence of a cause for commencement of civil rehabilitation
            (2)      Existence of causes listed in Article 25.2(2) to (4) of the Civil
                     Rehabilitation Law
            (3)      Situation of the business and properties of the rehabilitation debtor
            (4)      Other matters of report or opinion requested by the Court.


                              February 28, 2014
                                        Tokyo District Court 20th Civil Chamber
                                        Head Judge      Yasushi Kanokogi
                                        Judge           Hideki Kanazawa
                                        Judge           Masaki Higuchi


            This is an original.
            February 28, 2014
            Tokyo District Court 20th Civil Chamber
                     Court clerk        Kazui Sakuraba [seal]
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                                    EXHIBIT D
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    [translation]
    2014 (rehabilitation) no. 12


                                           DECISION


                               Shibuya 2-11-5, Shibuya-ku, Tokyo
                               Rehabilitation debtor MtGox Co., Ltd.
                               Representative Director Robert Marie Mark Karpeles


    The Court acknowledges the existence of special circumstances as stipulated under
    Article 27.1 of the Civil Rehabilitation Law and hereby decides as follows.


                                          JUDGMENT


    No forced execution or preliminary attachment or disposition shall be made by a
    rehabilitation creditor on the basis of a rehabilitation debt with regard to the properties
    of the rehabilitation debtor during the period until a decision shall be made with regard
    to the application for commencement of civil rehabilitation.


                              February 28, 2014


                                        Tokyo District Court 20th Civil Chamber


                                        Head Judge       Yasushi Kanokogi
                                        Judge            Hideki Kanazawa
                                        Judge            Masaki Higuchi




            This is an original.
            Same date, same court


            Court clerk       Kazui Sakuraba [seal]
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    [translation]
    2014 (rehabilitation) no. 12


                                           DECISION


                               Shibuya 2-11-5, Shibuya-ku, Tokyo
                               Rehabilitation debtor MtGox Co., Ltd.
                               Representative Director Robert Marie Mark Karpeles




                                          JUDGMENT


    The rehabilitation debtor is hereby prohibited to do any of the following.
    1.      Repayment or provision of security with regard to any debt (except those listed
            below) having its cause February 27, 2014 or earlier
            Debts collected pursuant to public levy or other national tax law;
            Debts arising from the employment relationship between the rehabilitation
            debtor and its employees
            Debts related to the rent, utilities and communications of the premises of the
            rehabilitation debtor
    2.      The transfer, lease or any other disposition of any rights related to properties
            owned or held by the rehabilitation debtor (except those made in the ordinary
            course of trade)
    3.      The transfer, establishment of a security interest or any other disposition of
            any claim of the rehabilitation debtor.


                               February 28, 2014
                                        Tokyo District Court 20th Civil Chamber
                                        Head Judge       Yasushi Kanokogi
                                        Judge            Hideki Kanazawa
                                        Judge            Masaki Higuchi


            This is an original.
            February 28, 2014
            Tokyo District Court 20th Civil Chamber
                     Court clerk        Kazui Sakuraba [seal]
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    [translation]
    2014 (rehabilitation) no. 12


                                                                                 March 10, 2014
    (Supervisor's opinion)
    I consent to the application below.
    March 10, 2014


               Supervisor    Attorney-at-law Nobuaki Kobayashi (seal and signature)


    Supervisor         Attorney-at-law Nobuaki Kobayashi




                       Application for consent of supervisor (assets disposal)


                                                     Counsel of Applicant MtGox Co., Ltd.
                                                     Baker & McKenzie
                                                     Attorney-at-law Hideyuki Yamamoto
                                                     Attorney-at-law Junko Suetomi
                                                     Yodoyabashi & Yamagami LPC
                                                     Attorney-at-law Akio Shinomiya
                                                     Attorney-at-law Kazumasa Kawai


    1.         Purpose of the application


    The rehabilitation debtor hereby requests consent to execute an entrustment agreement
    with David W Parham of Baker & McKenzie Dallas Office with regard to the following
    matters:
    1.         A petition to have this civil rehabilitation proceeding accepted under US
               Federal Insolvency Law Chapter 15.
    2.         A petition to stay the proceedings of the US lawsuits listed in exhibit.
    Provided, however, the Foreign Representative for the purpose of the above procedures
    shall be Mark Marie Robert Karpeles, representative director of the rehabilitation
    debtor.


    2.         Reasons for the application
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    1.       In relation with the application for commencement of a civil rehabilitation
    procedure made on February 28, 2014 (Tokyo District Court 2014 (rehabilitation) no. 12),
    the applicant received from the Tokyo District Court an order prohibiting the disposal of
    assets (the "Preservation Order").
    2.       The rehabilitation debtor has assets in the United States of America ("US").
    3.       Lawsuit no. 1 in the attached exhibit of US lawsuits is continuing in the US
    against the rehabilitation debtor. In addition, the class action listed as no. 2 (the class is
    not certified yet) has been initiated and a request has been made to obtain a court order
    to freeze the assets held by the rehabilitation debtor in the US (the "Class Action
    Preservation Order").
    4.       The first oral hearing in relation with the Class Action Preservation Order
    shall take place on March 11, 2014 (US Central Standard Time) and the rehabilitation
    debtor needs to take defensive action since its US assets risk being attached.
    5.       Further, the US assets of the rehabilitation debtor consist mainly of cash
    deposits. The sums attached by the US Department of Homeland Security could be used
    as operating capital should it be released which means that the Class Action
    Preservation Order may have a negative impact on the progress of this civil
    rehabilitation. In addition, should the Class Action Preservation Order be accepted and
    should a situation where the plaintiffs of the class action would get the preference over
    the rehabilitation creditors with regard to the US assets arise, a situation of unfairness
    among the rehabilitation creditors would arise and there would be a risk that the fair
    repayment to creditors be impeded.
    6.       As indicated above, it is highly necessary to stop the class action proceeding
    and prevent the plaintiffs in the class action to get a preservation order over the US
    assets of the rehabilitation debtor and further taking into account the planned first
    hearing on March 11, 2014, it is urgent to take defensive action.
    7.       The analysis made by US lawyers indicates that in order to preserve the US
    assets of the rehabilitation debtor and stop the class action, the rehabilitation debtor
    should demand the recognition of a foreign insolvency procedure under Chapter 15 of
    the US Federal Bankruptcy Law (the "Chapter 15 Petition") and obtain the extension
    over US assets of the effect of the civil rehabilitation. In addition, should this petition be
    granted, during the 30 days period until an automatic stay comes into effect, it is also
    necessary to demand a stay of the proceedings under the US lawsuit and the class
    action on the basis of the Chapter 15 Petition in each competent jurisdiction (federal
    district courts).
    8.        It is obvious that the Chapter 15 Petition and the demands in each federal
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    district courts will be more efficiently and speedily done by US insolvency law experts.
    9.         The rehabilitation debtor has asked David W Parham of the Dallas Office of
    Baker & McKenzie, an expert in US insolvency law and with whom consultations have
    already taken place, to prepare for proceeding with the Chapter 15 Petition.
    10.        We believe that it is appropriate to execute an entrustment agreement with
    said law firm (Exhibit 2), to pay an estimate of USD 75,000 (approximately JPY 7.5
    million) as fees for the Chapter 15 Petition and the petitions for stays and to quickly
    start said petitions.
    11.        In addition the payment of said fees of USD 75,000 is not likely to impede the
    financing of the rehabilitation debtor.
    12.        Accordingly, this application is being made since there is a need to promptly
    pay these lawyers fees in accordance with said entrustment agreement and further
    since this payment is possible.


    Exhibits
    1.         List of US lawsuits
    2.         Entrustment agreement
